IN RE:

Ryan Michael L engerich

Erin Rene Leng€ rich

Case O7-13153-reg Doc 3 Filed 11/01/07 Page 1 of 3

UNITED STATES BANKRUPTCY COURT
NoRTHERN DISTRICT oF INDIANA

Fort Wayne Division »- 3
01 - | ’$ 15

) CASE NO.

)

)

) CHAPTER 13

CHAPTER 13 PLAN

l. The future earnings of debtor are submitted to the supervision and control of the trustee,

and debtor shall pay to the trustee the sum of $850.00 per month for 60 months by a wage

withholding ord er.

2. From the payments so received, the trustee shall make disbursements as follows:

(a).

 

All allowed priority claims entitled to priority under 1 l USC 507 shall be paid
in full during the plan. The debtors have paid $900.00 directly to their
attorney prior to filing. Of the first available funds, subordinated only to
current monthly mortgage payments, the Trustee will pay said attorney $1900
for a total of $2,800.00.

After the above payments, dividends shall be paid to secured creditors
whose claims are duly proved and allowed as follows:

Wells Fargo has a security interest in debtor's house and will be paid
according to the contract through the plan. Further, the allowed arrearage
shall be paid through the plan with no interest Upon completion of the plan,
debtor shall resume payments according to the terms of the contract To the
extent that this creditor incurs post-petition costs pursuant to the mortgage
contract, it is the Creditor's duty to apply for and have approved such petition
costs BEFORE applying any funds. IF CREDITOR FAILS TO APPLY AND
HAVE APPROVED SUCH POST PETITION COSTS PRIOR TO
DISCHARGE, SUCH COSTS ARE DEEMED DISALLOWED AN ANY
ATTEMPT TO COLLECT AFTER DISCHARGE WILL BE CONSIDERED
A VIOLATION OF ll USC 524(i).

Adams County Treasurer has an interest in debtor’s residence. Arrears will
be paid at 8% interest

Case O7-13153-reg Doc 3 Filed 11/01/07 Page 2 of 3

LVNV Funding, and Rose Hulman Institute of Technology have judgment
liens against debtor(s) real estate located at 204 S. llth St., Decatur, IN
46733. The fair market value of the property is $56,000. Other liens on the
property are held by Wells F argo Bank for $54,018. The debtors exempted
$1,982.00 in residence exemption on their petition. The judgement liens
attached on June/2006, and October/2006 respectively under cause number
OlDOl-0606-CC-87 in the Adams Superior Court, and 01D01-06lO-CC-
0157 in the Adams Superior Court. The legal description of the property is
Inlot Number seven hundred and sixty-nine (769) in Glass and Glass
Subdivision of Outlots Number Two hundred ninety-three (293) and Two
hundred ninety-five (295) in Joseph Crabbs Third Western Addition to the
town (now city) of Decatur, Adams County, Indiana. Upon discharge, the
lien will be completely stripped away and creditor shall only have a general
unsecured claim which must be timely filed to be allowed.

(c). Non-admi_nistrative priority claims shall be paid after administrative and secured claims have

been paid in full.

3. All funds remaining after payments are made above shall be paid to unsecured creditors

pro-rata pursuant to their allowed proof of claims.

4. Debtor

5. Debtors

has no executory contracts.

tax refunds have been pro-rated into their plan. Debtors will turn over any

combined State and Federal tax refund over $4351.00.

6. Upon cc
to ll USC §350 (o
property of the est¢

§1306(b)). A11 sec

 

nfirmation of the Plan, all property of the estate shall vest in the debtor pursuant
r USC §l327(b)). The debtor shall remain in possession of all
1te during the pendency of this case unless specifically provided herein (ll USC

ured creditors shall retain the liens securing their claims unless otherwise stated.

(-_

Dated: H )[3\

aSe O7-13153-reg

@

Acceptance may be mailed to:

Anita K, Gloyeski

Glaser & Ebbs

23321-85

116 E. Berry, Suite 1900

Fort Wayne, IN 4

6802

Counsel For Debtor

 

Doc 3 Filed 11/01/07 Page 3 of 3

R§an Michael Lengei;‘lch

uaw /éww&

Erin Renee Lenger{ch/

 

